Case 2:18-cv-08497-FWS-E Document 140 Filed 08/09/22 Page 1 of 6 Page ID #:3326



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  15 Professional Realty Enterprises, Inc.,
  16 Saivian LLC, Savings Network App LLC,
     and Realty Share Network LLC
  17

  18
                           UNITED STATES DISTRICT COURT
  19                      CENTRAL DISTRICT OF CALIFORNIA
  20
       SECURITIES AND EXCHANGE                      Case No. 2:18-cv-08497-FWS-E
  21   COMMISSION,
  22                                                Hon. Fred W. Slaughter
                    Plaintiff,
  23
                                                    JOINT STIPULATION
              v.
  24
       ERIC J. “EJ” DALIUS, an individual,          Concurrently filed with [Proposed]
  25
       PROFESSIONAL REALTY                          Order
  26   ENTERPRISES, INC., a Corporation,
       SAIVIAN LLC, a Limited Liability             Complaint Filed: October 3, 2018
  27
       Company, SAVINGS NETWORK APP
  28   LLC, a Limited Liability Company,

                                                1
                            JOINT STIPULATION AND [PROPOSED] ORDER
Case 2:18-cv-08497-FWS-E Document 140 Filed 08/09/22 Page 2 of 6 Page ID #:3327



   1       SAVING NETWORK APP LIMITED, a
   2       Limited Company, SAIVIAN
           INTERNATIONAL LIMITED, a
   3       Limited Company, SAIVIAN INT
   4       LIMITED, a Private Company, REALTY
           SHARE NETWORK LLC, a Limited
   5       Liability Company, and RYAN
   6       MORGAN EVANS,

   7                 Defendants.
   8
               Plaintiff Securities and Exchange Commission (“SEC”) and Defendants Eric
   9
       J. Dalius, Professional Realty Enterprises, Inc., Saivian LLC, Savings Network App
  10
       LLC, Realty Share Network LLC, and Ryan Morgan Evans (collectively, the
  11
       “Parties”), hereby stipulate and agree as follows:
  12
               WHEREAS, on July 5, 2022, the Court issued a minute order [Dkt. No. 138],
  13
       that granted in part the Parties’ Joint Motion to Modify Scheduling Order [Dkt. No.
  14
       135], modifying the deadlines for motions and remaining deadlines to permit an
  15
       additional mediation before Magistrate Judge Charles F. Eick that was scheduled for
  16
       August 5, 2022; 1
  17
               WHEREAS, on August 5, 2022, the Parties participated in a telephonic
  18
       settlement conference held before Magistrate Judge Eick (the “Mediation”), during
  19
       which a settlement in principle was reached between the SEC and the Defendants
  20
       other than Defendant Ryan Morgan Evans (the “Settling Defendants”);
  21
               WHEREAS, on August 8, 2022, Magistrate Judge Eick entered civil minutes,
  22
       dated August 5, 2022 [Dkt. No. 139], reporting that after “[c]ounsel, the parties and
  23
       the Court conferred” during the Mediation, “[a] settlement in principle was reached
  24
       between the Plaintiff and the Defendants other than Defendant Evans”;
  25

  26

  27   The Court further ordered that “the parties shall submit a joint report notifying the
       1
     court of the status of their settlement efforts within 7 days of the settlement
  28 conference.” The Parties intend for this Joint Stipulation to serve as the Parties’ joint
     report to the Court.
                                                 2
                             JOINT STIPULATION AND [PROPOSED] ORDER
Case 2:18-cv-08497-FWS-E Document 140 Filed 08/09/22 Page 3 of 6 Page ID #:3328



   1         WHEREAS the full Commission must approve the settlement in principle
   2   between the SEC and the Settling Defendants, a process that could take several
   3   weeks;
   4         WHEREAS, the current scheduling order [Dkt. No. 138] calls for motions for
   5   summary judgment to be filed by August 12, 2022, and the SEC intends to file a
   6   motion for summary judgment against all Defendants absent a continuance of the
   7   current deadlines or other relief that preserves the SEC’s rights to file a motion for
   8   summary judgment in the event the settlement agreement in principle cannot be
   9   finalized;
  10         WHEREAS filing a motion for summary judgment to preserve the SEC’s
  11   rights at the same time that a settlement in principle proceeds through the
  12   Commission review process would be inefficient and counterproductive to finalizing
  13   the settlement; and
  14         WHEREAS, the Parties jointly request a continuance of the remaining
  15   deadlines in this case for sixty (60) days in light of the settlement in principle reached
  16   at the Mediation with the Settling Defendants to allow counsel for the SEC the time
  17   necessary to document and obtain approval of the settlement by the full
  18   Commission.2
  19         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED
  20   among the Parties, subject to the Court’s approval, that:
  21         [1]    All remaining deadlines in the Court’s minute order [Dkt. No. 138] are
  22                hereby continued for sixty (60) days, pending further order of the Court.
  23 IT IS SO STIPULATED
  24
     ///
     ///
  25 ///

  26
     ///

  27
       Counsel for the SEC believes that 60 days is sufficient time to complete the
       2

  28 Commission    approval process. The SEC and Defendant Ryan Evans will continue
     to discuss potential resolution during this period as well.
                                                   3
                              JOINT STIPULATION AND [PROPOSED] ORDER
Case 2:18-cv-08497-FWS-E Document 140 Filed 08/09/22 Page 4 of 6 Page ID #:3329



   1   Dated: August 9, 2022   GARTENBERG GELFAND HAYTON LLP
   2
                                By: /s/
   3                                Edward Gartenberg
   4                                Milena Dolukhanyan

   5                           SCHULTE ROTH & ZABEL LLP
   6                              Howard Schiffman
                                  Jeffrey F. Robertson
   7

   8                                Attorneys for Defendants Eric J. Dalius,
                                    Professional Realty Enterprises, Inc.,
   9                                Realty Share Network LLC, Saivian LLC,
  10                                and Savings Network App LLC
  11   Dated: August 9, 2022   DAVIS WRIGHT TREMAINE LLP
  12
                                 By: /s/
  13                               Eric A. Bensky
  14
                                    Attorneys for Defendant Ryan Morgan Evans
  15

  16   Dated: August 9, 2022   SECURITIES AND EXCHANGE COMMISSION
  17                             By: /s/
  18                               Kenneth W. Donnelly
                                   David A. Nasse
  19                               Derek S. Bentsen
  20                               Geoffrey Gettinger
                                   Michael Flanagan
  21

  22                                Attorneys for Plaintiff
                                    Securities and Exchange Commission
  23

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                          JOINT STIPULATION AND [PROPOSED] ORDER
Case 2:18-cv-08497-FWS-E Document 140 Filed 08/09/22 Page 5 of 6 Page ID #:3330



   1

   2                                   PROOF OF SERVICE

   3                I, Jeffrey F. Robertson declare:
   4
                    1.     I am a citizen of the United States, over the age of eighteen, and
   5

   6   not a party to this action. My place of employment and business address is Schulte

   7   Roth & Zabel LLP, 901 Fifteenth Street, NW, Suite 800, Washington, DC 20005.
   8
                    2.     On this date, I caused to be served all other parties to this action
   9

  10   the Joint Stipulation and [Proposed] Order by transmitting that document via
  11   electronic mail to the names and e-mail addresses of the persons set forth on the
  12
       attached service list.
  13

  14                I declare under penalty of perjury that the above is true and correct to
  15   the best of my knowledge, information, and belief.
  16
                           Executed on August 9, 2022, in Washington, DC.
  17

  18                                                          /s/ Jeffrey F. Robertson
                                                                  Jeffrey F. Robertson
  19

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                                JOINT STIPULATION AND [PROPOSED] ORDER
Case 2:18-cv-08497-FWS-E Document 140 Filed 08/09/22 Page 6 of 6 Page ID #:3331



   1                                  SERVICE LIST
   2
                                   SEC v. Dalius, et al.
   3           United States District Court – Central District of California
   4                        Case No. 2:18-CV-08497-FWS-E

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  27

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                            JOINT STIPULATION AND [PROPOSED] ORDER
